         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 1 of 14




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                     :
                                                       :
                              Plaintiff,               :     NO. 19-CV-5946-RBS
                                                       :
        v.                                             :
                                                       :     ORAL ARGUMENT
COLIN PURRINGTON,                                      :
                                                             REQUESTED
                                                       :
                              Defendant.               :

 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

        Defendant Colin Purrington submits this memorandum of law in support of his motion to

dismiss the complaint of AC2T, Inc. d/b/a Spartan Mosquito (“Spartan”), dated December 16,

2019 (the “Complaint” or “Compl.”), pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                PRELIMINARY STATEMENT

        In this lawsuit, Spartan seeks to use its superior financial resources to silence a former

college professor who has been exercising his constitutional rights to petition his government and

advocate on an important environmental and public health issue: the effectiveness of commercially

available mosquito control devices.        In Mr. Purrington’s opinion, based upon his personal

evaluation of Spartan’s product and his scientific knowledge, Spartan has made false and

misleading claims about the efficacy of its product, thereby violating federal environmental

regulations and potentially endangering public health. Most of the statements that Spartan cites in

the Complaint reflect Mr. Purrington’s efforts to reach federal and state officials with information

about Spartan’s misleading and false claims concerning the efficacy of its product. The remaining

statements reflect Mr. Purrington’s efforts to raise public awareness of the matters about which he

is petitioning, describe his own opinions, or contain facts that Spartan does not, and cannot, deny

are true. Applicable law does not provide Spartan with a valid claim against Mr. Purrington under




PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 2 of 14




those circumstances. Notably, even if Spartan could show that Mr. Purrington should be liable for

his statements, Spartan fails to plead facts that would suggest it has incurred even a cent of damage

to its business to justify its claims. That omission suggests that Spartan has sued merely to

intimidate Mr. Purrington rather than to recover any demonstrable damage to its business. For

those reasons, Mr. Purrington respectfully requests that the Court dismiss the Complaint in its

entirety, with prejudice.

                                   STATEMENT OF FACTS

        Colin Purrington is a resident of Swarthmore, Pennsylvania and a former associate

professor of biology at Swarthmore College. See Compl. ¶ 2, 7. He maintains a blog on which he

posts on a variety of topics, and is also active in posting on social media, including Facebook and

Twitter. See Compl. ¶¶ 6, 12.

        In 2019, Mr. Purrington became interested in a product called the Spartan Mosquito

Eradicator, which is manufactured and sold by plaintiff Spartan. See Compl. ¶¶ 5-6, 9, 11. Spartan

alleges that Mr. Purrington made “approximately 150 statements” concerning Spartan or the

Spartan Mosquito Eradicator on the websites Amazon.com, Facebook.com, Twitter.com, and on

his own blog. Compl. ¶ 12. Spartan further contends that those statements are false and

defamatory. Compl. ¶ 5. Notably, however, Spartan nowhere alleges that certain key facts are

untrue: that Mr. Purrington is a scientist, that he conducted an evaluation of the Spartan Mosquito

Eradicator, and that the solution contained inside Spartan’s product is a simple mixture of water,

sugar, salt, and yeast. See Compl. ¶¶ 14-25 (listing numerous purportedly false statements, but

failing to challenge the accuracy of statements concerning Mr. Purrington’s profession or the

components of Spartan’s product).

        In the Complaint, Spartan specifically identifies several statements upon which it bases its

claims, including a Facebook post that states:


                                                 -2-
PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 3 of 14




             The Spartan Mosquito Eradicator is a complete scam. I’m a scientist and
             have evaluated them carefully. I found that mosquitos are not attracted to
             the devices at all. And I’ve corresponded with over 100 scientists and
             public health officials who all agree that the devices attract nothing but
             fruit flies, ants, picnic beetles, and yellowjackets. And everyone agrees
             that the solution inside (water, sugar, salt, and yeast) wouldn’t kill
             mosquitos even IF mosquitos managed to get inside (the holes are too
             small). Indeed, professionals openly laugh about this device and speculate
             why so many people leave glowing testimonials. But, sadly, it’s not just
             a waste of money – it puts people at risk of contracting mosquito-borne
             diseases. I.e., if a person relies on this device instead of, say, DEET, they
             are putting themselves and their families at increased risk of getting bitten
             by a mosquito carrying EEE, West Nile, etc. This company is an
             embarrassment to the state of Mississippi, which should have never
             allowed it to operate in the first place. It should be shut down, and several
             states (perhaps all) are planning to do exactly that. I hope that happens
             before they start selling the things in Africa.

Compl. ¶¶ 8, 13, Ex. A. Spartan also complains about various statements that it alleges Purrington

made on Twitter, including the following tweets:

        •   “The reason citizens and organizations should write to their state officials *now* is

            because Spartan Mosquito must reapply to each state by Dec 31st for permission to

            sell. Please send your input today. Contact info: [graphic] . . . . Why should states

            issue ‘stop sell’ orders on scams like the Spartan Mosquito Eradicator? Because such

            devices are putting people’s health at risk. The Association of American Pesticide

            Control Officials has detailed guidance for state regulators here: [graphic]” Compl.

            Ex. B;

        •   “This might be related to the efforts by @EPA and @amazon to remove items that

            violate the Federal Insecticide, Fungicide & Rodenticide Act. Spartan Mosquito and

            distributors often make health claims, e.g., which violate the FIFRA 25(b) exemption

            it enjoys . . . Here are four examples showing how Spartan Mosquito Eradicator,




                                                 -3-
PHIL1 8757010v.2
          Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 4 of 14




             distributors, and resellers push the idea that the devices protect against mosquito-borne

             diseases. All in clear violation of the FIFRA 25(b) exemption. 1” Compl. Ex. C;

         •   “Spartan Mosquito Eradicators provide ideal habitat (water, sugar, yeast) for larvae of

             spotted-wing drosophila (Drosophila suzukii), an invasive pest of berries and soft-

             skinned fruit trees. Once mature they escape through holes in the cap.” Compl. Ex. D;

         •   “Spartan Mosquito Eradicator operates in a regulatory loophole, though, because it

             *doesn’t* contain a regulated pesticide. If it had actual insecticide it would absolutely

             need to convince regulators that the device killed mosquitos. It’s a successful scheme.”

             Compl. Ex. F;

         •   “The above claim suggests Spartan Mosquito misled states in @eparegion2,

             @eparegion3, @USEPASoutheast, @EPAregion6, @EPAregion7, @EPAregion9,

             and @EPAnorthwest when it declared sodium chloride is the active ingredient that kills

             mosquitos (an equally inane idea).” Compl. Ex. G.

         Spartan also complains about posts that it alleges Purrington made on Amazon.com:

             •     “Just a word of caution about adding the ingredients yourself: it still will not work.

                   The design is flawed in so many ways it seems as if the owners of the company

                   didn’t even care.” Compl. Ex. I;

             •     “I’ve never seen a mosquito inside my Spartan Mosquito Eradicators and I’ve also

                   never seen a mosquito near it or on it. I looked through the company’s website,




1
  The Federal Insecticide, Fungicide and Rodenticide Act (“FIFRA”) section 25(b) exemption provides that “minimum
risk” pesticides with certain active ingredients, such as salt, are exempt from regulation under FIFRA. To qualify for
this exemption, among other things, the product must not have labeling that contains false or misleading information
or health claims. See http:www.epa.gov/minimum-risk-pesticides/conditions-minimum-risk-pesticides (last visited
Mar. 24, 2020); see also 40 C.F.R. § 152.25(f).



                                                         -4-
PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 5 of 14




                   Facebook page, and Instagram account and there’s not a photograph of a mosquito

                   going through one of those holes. It’s all a fiction to get gullible people to buy it.”

                   Compl. Ex. J;

            •      “You can also complain to Amazon directly. Just state that the seller has used

                   deceptive advertising and that the product doesn’t work.” Compl. Ex. K.

Finally, Spartan complains about two other Facebook postings that it alleges Mr. Purrington made:

        •   “Here’s a movie of the insects that ARE trapped inside a Spartan Mosquito Eradicator.

            Yes, there are larvae inside. Alive. And some of them are spotted-wing drosophila, an

            invasive pest of berries in the United States. So these devices are contributing to the

            spread of a pest. [Video].” Compl. Ex. E;

        •   “Amazon has recently concluded that the Spartan Mosquito Eradicator is a scam and

            have pulled the device. It’s still available at feed stores around the country, and I

            assume people will keep buying it at those locations. It would be great to get the word

            out to the public so that people don’t try to protect themselves from mosquito-borne

            diseases with Spartan Mosquito Eradicators. I don’t think the feed stores are going to

            inform customers.” Compl. Ex. H.

        Spartan nowhere details any pecuniary damage that it has incurred by reason of the

purportedly false statements, pleading only in a conclusory fashion that “Plaintiff has suffered

damages.” Compl. ¶¶ 27, 33, 39.

                                              ARGUMENT

        The Complaint should be dismissed in its entirety because either (1) Spartan cannot

maintain a claim based on the cited statements under the Noerr-Pennington doctrine or

Pennsylvania’s Environmental Immunity Act, or (2) the statements are opinion and therefore



                                                     -5-
PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 6 of 14




cannot form the basis for a defamation claim. Moreover, a plaintiff must plead facts in its

complaint that “raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555 (2007); see also GOLO, LLC v. HighYa, LLC, 310 F. Supp. 3d 499, 503 (E.D. Pa.

2018). Although allegations of fact must be accepted by the Court as true on a motion to dismiss,

legal conclusions couched as facts need not be considered true. GOLO, LLC, 310 F. Supp. 3d at

503 (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). Thus, Spartan’s conclusory allegation

that it has suffered “damages” is not sufficient to plead its claim for commercial disparagement.

Finally, Spartan cannot maintain this action because it is not registered to do business in

Pennsylvania. For all those reasons, the Court should dismiss this action.

        I.         Spartan’s Claims Are Barred By The Noerr-Pennington Doctrine

        The alleged defamatory statements are communications either made directly to government

entities or to encourage third parties to petition their own local government; Spartan’s claims are

therefore barred by the Noerr-Pennington doctrine, because Mr. Purrington’s speech is protected

speech. The Noerr-Pennington doctrine arises from the First Amendment right to “petition the

Government for a redress of grievances.” BE & K Constr. Co. v. Nat’l Labor Relations Bd., 536

U.S. 516, 524-25 (2002). It provides immunity from statutory and common-law claims arising

from activities carried out to petition the government for redress, including to bring non-

compliance with applicable law to the attention of appropriate authorities. Brownsville Golden

Age Nursing Home, Inc. v. Wells, 839 F.2d 155, 159-60 (3d Cir. 1988); see also Caixa Geral de

Depositos, S.A. v. Rodrigues, 2005 WL 1541055, at *10 (D.N.J. June 30, 2005) (applying Noerr-

Pennington to defamation claim); O’Neill v. Rossum, 2018 WL 4233573, at *3, 7-9 (Pa. Super. Ct.

Sept. 6, 2018) (affirming order dismissing claims for defamation and commercial disparagement

under the Noerr-Pennington doctrine). Mr. Purrington’s statements are petitioning activity and

therefore cannot serve as a basis for a claim for either defamation or commercial disparagement.


                                                -6-
PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 7 of 14




        First, each of the tweets contained in exhibits B, C, F, and G and the Facebook post in

exhibit A are either addressed directly to the government or were posted on social media to

encourage other citizens to petition the government; claims based on such statements are barred

by the Noerr-Pennington doctrine. In O’Neill v. Rossum, the Pennsylvania Superior Court

considered an appeal of a dismissal under Noerr-Pennington of claims for commercial

disparagement and defamation brought against the Delaware Riverkeeper Network (“DRN”), an

environmental group. O’Neill, 2018 WL 4233573, at *1, 3. The plaintiff in O’Neill intended to

build a housing development on land contaminated with chlorine solvents. Id. at *2. The

developer alleged, in support of its defamation and commercial disparagement claims, that DRN

had “engaged in a campaign of misinformation” against the development through communications

to residents and the government concerning the dangers of building on a contaminated site. Id. In

upholding the trial court’s dismissal of those claims, the Superior Court held that the Noerr-

Pennington doctrine applied to public statements aimed at obtaining government redress, even

when the statements are made “outside of government proceedings.” Id. at *8.

        Here, Mr. Purrington similarly is disseminating information via social media to

government agencies and the community in an effort to oppose what he believes are ineffective

devices for mosquito control that put the environment and public health at risk. In the tweet

attached to the Complaint as Exhibit B, for example, Mr. Purrington writes that “citizens and

organizations should write to their state officials.” Compl. Ex. B. In the tweets at Exhibit C,

Mr. Purrington tags the United States Environmental Protection Agency (“EPA”) in a series of

tweets that explain his view about how Spartan’s product does not comply with FIFRA. Compl.

Ex. C. In a series of tweets in Exhibit F, Mr. Purrington explains that Spartan has utilized a

loophole to avoid the need to demonstrate the efficacy of its product to regulators. Compl. ¶ 8,




                                               -7-
PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 8 of 14




Ex. F. In Exhibit G, Mr. Purrington tags numerous regional offices of the EPA, communicating

to them his opinion that Spartan made misleading statements. Compl. Ex. G. Finally, in Exhibit

A, Mr. Purrington provides his rationale for opposing the sale of Spartan’s product and ends with

a call for it to be “shut down” by regulators. See Compl. Ex. A. All of those communications seek

redress directly from the government, or encourage fellow citizens to seek redress from the

government, and Spartan therefore cannot maintain its claims against Mr. Purrington on the basis

of those statements. O’Neill, 2018 WL 4233573, at *3, 7-9.

        Although the remaining statements are not addressed directly to a government entity, they

are part of Mr. Purrington’s efforts to raise awareness of the issue upon which he is engaged in

petitioning the government, and therefore are also protected by Noerr-Pennington. As the court

held in O’Neill, activities ancillary to a petition to the government – such as communications to

fellow citizens on the issue addressed in the petition – are also constitutionally protected speech.

O’Neill, 2018 WL 4233573, at *8; see also Sosa v. DIRECTV, Inc., 437 F.3d 923, 933-34 (9th Cir.

2006) (holding that the Petitioning Clause requires the preservation of “breathing space for the

effective exercise of rights it protects” and that therefore “a party may not be subjected to liability

for conduct intimately related to its petitioning activities”). The remaining statements that Spartan

cites in its complaint are intimately related to his petitioning activity because they inform the public

that he was imploring to “write to their state officials” of the reasons why such petitioning is

necessary. See, e.g., Compl. Exs. D & E (explaining that Spartan’s product could contribute to the

spread of invasive species); Compl. Ex. H (explaining that people who rely upon Spartan’s product

to protect themselves from mosquito-borne diseases may be risking their health). Accordingly,

claims Spartan brings are barred by the Noerr-Pennington doctrine in their entirety, and should be

dismissed.




                                                  -8-
PHIL1 8757010v.2
         Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 9 of 14




        II.        Certain of Spartan’s Claims Are Barred By Pennsylvania’s Environmental
                   Immunity Act

        To the extent that Spartan’s claims rest on communications Mr. Purrington made to

governmental authorities, those claims are also barred by Pennsylvania’s Environmental Immunity

Act. Under that law, “a person that, pursuant to Federal or State law . . . makes an oral or written

communication to a government agency relating to enforcement or implementation of an

environmental law or regulation shall be immune from civil liability in any resulting legal

proceeding for damages where the action or communication is aimed at procuring favorable

governmental action.” 27 Pa. C.S.A. § 8302(a). “Immunity is triggered if, and only if, the

communication is aimed at procuring favorable government action, regardless of whether the

communication is made directly to the government or to third parties.” Penllyn Greene Assocs.,

L.P. v. Clouser, 890 A.2d 424, 434 (Pa. Commw. Ct. 2005). Thus, “[i]f the communications made

to third parties are the equivalent of communicating to the government, the communications

deserve the immunity provided by the Act.” Id. Again, many of the statements quoted by Spartan

in its complaint qualify for immunity under this statute.

        As described above, the statements that appear in Exhibits C and Exhibit G to the

Complaint are direct communications to the EPA concerning the enforcement of an environmental

law, FIFRA. See Compl. Ex. C and Ex. G. Moreover, as also described above, the other

communications addressed in the Complaint are ancillary communications aimed at the same goal.

See supra, § II.        Accordingly, the Pennsylvania Environmental Immunity Act provides

Mr. Purrington with immunity from any liability that may be imposed in this suit concerning those

statements, and the Complaint should be dismissed in its entirety. See Penllyn Greene Assocs.,

890 A.2d at 434. In the alternative, the Court should grant Mr. Purrington a hearing to determine

the preliminary issue of immunity under the Environmental Immunity Act. 27 Pa. C.S.A. § 8303.



                                                 -9-
PHIL1 8757010v.2
           Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 10 of 14




        III.       Plaintiff’s Claims Fail Because Purrington’s Statements Are Opinion

        Spartan also cannot succeed on its defamation claim, because the communications it relies

upon are statements of opinion. A claim for defamation under Pennsylvania law requires the

proponent to plead sufficient facts to support the following elements: “(1) The defamatory

character of the communication. (2) Its publication by defendant. (3) Its application to the

plaintiff. (4) The understanding by the recipient of its defamatory meaning. (5) The understanding

by the recipient of it as intended to be applied to the plaintiff. (6) Special harm resulting to the

plaintiff from its publication. (7) Abuse of a conditionally privileged occasion.” 42 Pa. C.S.A.

§ 8343; see also Barbieri v. Wells Fargo & Co., 2014 WL 7330461, at *7 (E.D. Pa. Dec. 22, 2014)

(Surrick, J.). “Expressions of opinions, that rise only to the level of annoyance or embarrassment,

do not provide a basis for a defamation claim.” Kreimer v. Phila. Inquirer, Inc., 2004 WL

1196258, at *2 (E.D. Pa. May 27, 2004) (Surrick, J.) (citing Parano v. O’Connor, 641 A.2d 607,

574-75 (Pa. Super. Ct. 1994)). Here, the thrust of Spartan’s claim is that it believes that its product

works to “substantially reduce a local mosquito population,” while Mr. Purrington’s scientific

opinion is that it does not. See Compl. ¶¶ 10, 14-25. Indeed, Mr. Purrington’s statements are

couched in the language of scientific opinion, reflecting that he “evaluated carefully” and “found

that mosquitos are not attracted to the devices.” Compl. ¶ 13. Other statements appear in the

language of pure policy opinion: “[Spartan] should be shut down” and “I hope that happens before

they start selling the things in Africa.” Id. Because those, and other similar opinion statements

cannot support a defamation claim, Count I of the Complaint should be dismissed for this reason

as well.




                                                 -10-
PHIL1 8757010v.2
        Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 11 of 14




        IV.        Spartan’s Commercial Disparagement Claim Fails Because Spartan Failed To
                   Plead Actual Pecuniary Damages

        Spartan’s claim for commercial disparagement lacks any allegation of specific damages

resulting from Mr. Purrington’s statements and therefore must be dismissed for this additional

reason. To plead a claim for commercial disparagement under Pennsylvania law, the plaintiff must

allege “(1) a false statement; (2) that the publisher either intends the publication to cause pecuniary

loss or reasonably should recognize that publication will result in pecuniary loss; (3) that there is

actual pecuniary loss; and (4) actual malice – that is, that the publisher either knew that the

statement was false or acted in reckless disregard of its truth or falsity.” GOLO, LLC, 310 F. Supp.

3d at 507; see also Brooks Power Sys., Inc. v. Ziff Commc’ns, Inc., 1994 WL 444725, at *2 (E.D.

Pa. Aug. 17, 1994) (citing Menefee v. Columbia Broadcasting Sys., Inc., 329 A.2d 216 (Pa. 1976))

(hereinafter, “Brooks”); McNulty v. Citadel Broadcasting Co., 58 Fed. App’x 556, 566 (3d Cir.

2003). To prevail on a commercial disparagement claim, a plaintiff “must establish direct

pecuniary loss resulting from the disparagement of the particular product.” Brooks, 1994 WL

444725, at *3 (emphasis in original); McNulty, 58 Fed. App’x at 567. To show direct pecuniary

loss, in turn, the plaintiff must demonstrate a diminution in sales or specific lost sales. Brooks,

1994 WL 444725, at *3. Spartan included not a single allegation in its complaint about any

diminution in sales or specific lost sales directly caused by the statements about which it

complains. See Compl. ¶¶ 27, 33, 39. Instead, Spartan merely asserts the legal conclusion that it

has “suffered damages” due to Mr. Purrington’s statements. See id. This Court need not consider

those legal conclusions as true in deciding this motion. See GOLO, LLC, 310 F. Supp. 3d at 503.

Without any factual allegation of direct pecuniary loss caused by Mr. Purrington’s statements,

Spartan’s commercial disparagement claim fails, and Count II of the Complaint should be

dismissed in its entirety.



                                                 -11-
PHIL1 8757010v.2
        Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 12 of 14




        V.         Spartan’s Suit Is Barred Because It Is Not Registered To Do Business In The
                   Commonwealth of Pennsylvania

        Spartan cannot maintain this suit in its entirety because it is not registered to do business

in the Commonwealth of Pennsylvania. Pennsylvania law requires foreign corporations to register

to do business in this Commonwealth. If a foreign corporation is not registered, it cannot maintain

any action in a state court or in a federal court in Pennsylvania. 15 Pa. C.S.A. § 412; Aberle

Hosiery Co. v. American Arbitration Ass’n, 337 F. Supp. 90, 92 (E.D. Pa. 1972). Spartan does not

allege that it is registered to do business in Pennsylvania, but rather only that it is a Mississippi

corporation with its principal place of business in Mississippi. Compl. ¶ 1. Indeed, a search of the

Pennsylvania Department of State’s database demonstrates that it does not appear to be registered.

The Complaint should therefore be dismissed for this additional reason.

                                           CONCLUSION

        For the reasons set forth above, Colin Purrington respectfully requests that the Court

dismiss the Complaint in its entirety, with prejudice, and grant such other and further relief as the

Court deems proper and just. In the alternative, Mr. Purrington respectfully requests that the Court

schedule a hearing to determine the preliminary issue of Mr. Pennington’s immunity pursuant to

the Pennsylvania Environmental Immunity Act, as required by 27 Pa. C.S.A. § 8303.




                                                 -12-
PHIL1 8757010v.2
        Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 13 of 14




 March 25, 2020                 KLEHR HARRISON HARVEY BRANZBURG LLP



                                By:   /s/ Paige M. Willan
                                      Paige M. Willan
                                      Douglas F. Schleicher
                                      1835 Market Street, 14th Floor
                                      Philadelphia, PA 19103
                                      (215) 569-2700
                                      pwillan@klehr.com
                                      dschleicher@klehr.com

                                      Attorneys for Defendant Colin Purrington




                                      -13-
PHIL1 8757010v.2
        Case 2:19-cv-05946-RBS Document 6-2 Filed 03/25/20 Page 14 of 14




                               CERTIFICATION OF SERVICE


        I hereby certify that on March 25, 2020, I served a true and correct copy of the foregoing

Memorandum of Law in Support of Defendant’s Motion to Dismiss via this Court’s electronic

filing system and via electronic mail on the below-listed counsel for Plaintiff AC2T, Inc.:

                                       Evan L. Frank, Esq.
                               Alan L. Frank Law Associates, P.C.
                                       135 Old York Road
                                     Jenkintown, PA 19046
                                       afrank@alflaw.net

                                 Counsel for Plaintiff AC2T, Inc.



                                                  By: /s/ Paige M. Willan
                                                         Paige M. Willan




PHIL1 8757010v.2
